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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    THANE CHARMAN,                                      Case No.: 23-cv-02046-WQH-JLB
12                                       Plaintiff,       NOTICE AND ORDER SETTING
      v.                                                  EARLY NEUTRAL EVALUATION
13
                                                          AND CASE MANAGEMENT
14    HAMMEET SETHI, et al.,                              CONFERENCES
                                      Defendants.
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17          IT IS HEREBY ORDERED that an Early Neutral Evaluation Conference
18    (“ENE”) will be held by video conference 1 on February 8, 2024, at 1:45 PM before
19    Magistrate Judge Jill L. Burkhardt. In the event the case does not settle at the ENE, a Case
20    Management Conference (“CMC”) pursuant to Fed. R. Civ. P. 16(b) is SET for
21    February 8, 2024, and will be held at the conclusion of the ENE.
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             If any party believes the ENE is more likely to be successful if conducted in-person,
      that party shall meet and confer on the issue with the other parties. After meeting and
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      conferring, and no later than 10 days from the date of this Order, the parties shall leave
26    a joint voicemail with chambers at (619) 557-6624 indicating which of the parties requests
27    an in-person ENE. In the voicemail, the parties shall leave three mutually available dates
      for a telephonic status conference to discuss whether the ENE should be held in-person.
28    The final decision will be made by the Court.

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 1          The following are mandatory directions for the parties preparing for the ENE.
 2    Absent express permission obtained from this Court, and notwithstanding the
 3    pendency of any motion, counsel shall timely comply with the dates and deadlines
 4    ordered herein.
 5          1.     Purpose of Conference: The purpose of the ENE is to permit an informal
 6    discussion between the attorneys, parties, and the settlement judge of every aspect of the
 7    lawsuit in an effort to achieve an early resolution of the case. All ENE discussions will be
 8    informal, off the record, privileged, and confidential.      Counsel for any non-English
 9    speaking parties is responsible for arranging for the appearance of an interpreter at the
10    ENE. The Court generally allots up to three hours for ENEs, but the parties should be
11    prepared to participate longer at the Court’s discretion.
12           2.    Appearance by All Parties Required: All parties, adjusters for insured
13    defendants, and other representatives of a party having full settlement authority as
14    explained below, and the principal attorneys responsible for the litigation, must appear at
15    the ENE by video conference and be legally and factually prepared to discuss settlement
16    of the case. Mandatory directions for participating in the ENE by video conference
17    are attached. Counsel appearing without their clients (whether or not counsel has been
18    given settlement authority) will be cause for immediate imposition of sanctions and may
19    also result in the immediate termination of the conference. If any of the principal attorneys
20    responsible for the litigation is not listed on the docket as an “ATTORNEY TO BE
21    NOTICED,” then they must file a notice of appearance on the docket as soon as practicable,
22    but in no event later than 7 calendar days prior to the ENE.
23          The Court will not grant requests to excuse a required party from personally
24    appearing absent extraordinary circumstances. If counsel believes there are sufficient
25    grounds to request that a required party be excused from personally appearing, they must
26    confer with opposing counsel prior to making the request. All requests to excuse a required
27    party from personally appearing must be made by joint or ex parte motion and filed at least
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 1    7 calendar days before the scheduled ENE. Failure to appear at the ENE will be
 2    grounds for sanctions.
 3            3.     Full Settlement Authority Required: In addition to counsel who will try the
 4    case, a party or party representative with full settlement authority 2 must appear at the ENE.
 5    In the case of an entity, an authorized representative of the entity who is not retained outside
 6    counsel must be present and must have discretionary authority to commit the entity to pay
 7    an amount up to the amount of the Plaintiff’s prayer (excluding punitive damages prayers).
 8    The purpose of this requirement is to have representatives present who can settle the case
 9    during the course of the ENE without consulting a superior.
10            Counsel for a United States government entity may be excused from this
11    requirement so long as the government attorney who appears at the ENE (1) has primary
12    responsibility for handling the case, and (2) may negotiate settlement offers that the
13    attorney is willing to recommend to the government official having ultimate settlement
14    authority.
15            4.     ENE Statements Required: On or before January 29, 2024, the parties shall
16    lodge        ENE   statements   with   Judge       Burkhardt’s   chambers    via    e-mail    at
17    efile_burkhardt@casd.uscourts.gov. Whether these statements are lodged confidentially
18    or whether they are served on opposing counsel is within the parties’ discretion. ENE
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             “Full settlement authority” means that the individuals at the settlement conference
23    must be authorized to explore settlement options fully and to agree at that time to any
      settlement terms acceptable to the parties. Heileman Brewing Co. v. Joseph Oat Corp.,
24    871 F.2d 648, 653 (7th Cir. 1989). The person needs to have “unfettered discretion and
      authority” to change the settlement position of a party. Pitman v. Brinker Int’l, Inc., 216
25
      F.R.D. 481, 485–86 (D. Ariz. 2003). The purpose of requiring a person with unlimited
26    settlement authority to appear at the conference contemplates that the person’s view of the
27    case may be altered during the face-to-face conference. Id. at 486. A limited or a sum
      certain of authority is not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595–
28    97 (8th Cir. 2001).

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 1    statements must be 5 pages or less (excluding exhibits). Each party’s ENE statement shall
 2    concisely set forth the following:
 3                 a.    The nature of the case, the claims, the defenses, including the statutory
 4          or other grounds upon which the claims are founded, and the parties’ positions
 5          regarding settlement of the case.
 6                 b.    A specific and current demand or offer addressing all relief or
 7          remedies sought. If a specific demand or offer cannot be made at the time the
 8          statement is submitted, then the reasons for that must be stated along with a statement
 9          as to when the party will be in a position to state a demand or offer. A general
10          statement that a party will “negotiate in good faith,” “offer a nominal cash sum,” or
11          “be prepared to make an offer at the conference” is not a specific demand or offer.
12          In advance of the ENE, the parties are strongly encouraged to engage in at least one
13          round of settlement demands and offers. ENE statements shall include all
14          settlement proposals exchanged to date.
15                 c.    A list of: (i) all attorney and non-attorney conference participants
16          for that side, including the name(s) and title(s)/position(s) of the party/party
17          representative(s) who will appear and have settlement authority at the conference;
18          (ii) an e-mail address for each participant to receive the Zoom video conference
19          invitation; and (iii) a telephone number where each participant may be reached so
20          that if technical difficulties arise, the Court will be in a position to proceed
21          telephonically instead of by video conference.3
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            If counsel prefers to have all participants of their party on a single conference call,
27    counsel may provide a conference number and appropriate call-in information, including
      an access code, where all counsel and parties or party representatives for that side may be
28    reached as an alternative to providing individual telephone numbers for each participant.

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 1          5.     Submission of Magistrate Judge Consent Form: Attached is a form titled,
 2    “Notice, Consent, and Reference of a Civil Action to a Magistrate Judge.” Plaintiff shall
 3    complete the form indicating whether or not Plaintiff is consenting to magistrate judge
 4    jurisdiction and shall provide Defendant’s counsel with an executed copy of the consent
 5    form no later than January 16, 2024. Pursuant to CivLR 73.1, if, and only if, all parties
 6    have consented to the reference to a magistrate judge, then Defendant shall file the consent
 7    form(s) in paper format at the Clerk’s Office by January 19, 2024. If the paper format
 8    filing reflects consent by all parties, then the form(s) will be forwarded to the assigned
 9    district judge for approval. The consent form(s) should not be filed with the court
10    electronically through its Case Management/Electronic Case Filing (CM/ECF) system.
11    No consent form will be made available, nor will its contents be made known to any judicial
12    officer, unless all parties have consented to the reference to a magistrate judge. The parties
13    are free to withhold consent without adverse substantive consequences. Questions related
14    to the consent form(s) should be directed only to the clerk’s office at (619) 557-5600.
15    Please do not call chambers’ staff with questions related to the consent form(s).
16          6.     New Parties Must Be Notified by Plaintiff’s Counsel: Plaintiff’s counsel
17    shall give notice of the ENE and this Order to parties responding to the complaint after the
18    date of this notice.
19          7.     Case Management Under the Federal Rules: The parties are ordered to
20    comply with Fed. R. Civ. P. 26 and proceed with the initial disclosure process as follows:
21                 a.        The Rule 26(f) conference shall be completed on or before
22           January 16, 2024; and
23                 b.        The date of initial disclosure pursuant to Rule 26(a)(1)(A–D) shall
24           occur on or before January 29, 2024.
25          8.     Joint Discovery Plan: The parties shall file a Joint Discovery Plan on or
26    before January 29, 2024. The Plan must be one document and must explicitly cover the
27    parties’ views and proposals for each item identified in Fed. R. Civ. P. 26(f)(3). In addition,
28    the Joint Discovery Plan shall identify:

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 1                a.     The parties may file a Joint Motion to Dismiss and separately lodge by
 2          e-mail a proposed order to the assigned District Judge. 4 If a Joint Motion to Dismiss
 3          is filed, the Court will vacate the ENE. The parties are encouraged to leave a joint
 4          voicemail message with Judge Burkhardt’s chambers to notify the Court of their
 5          pending Joint Motion.
 6                b.     If the parties settle more than 24 hours before the ENE but are not able
 7          to file a Joint Motion to Dismiss, they must file a Notice of Settlement containing
 8          the electronic signatures of counsel for all settling parties and identifying a date by
 9          which the Joint Motion to Dismiss will be filed. The parties are encouraged to leave
10          a joint voicemail message with Judge Burkhardt’s chambers to notify the Court of
11          their filed Notice of Settlement.
12                c.     If the parties settle less than 24 hours before the ENE, the parties must
13          leave a joint voicemail message with Judge Burkhardt’s chambers to notify the Court
14          of the settlement and receive Court permission to not appear at the ENE.
15          After having reviewed Judge Burkhardt’s Civil Chambers Rules, appropriate
16    questions regarding this case or the mandatory directions set forth herein may be addressed
17    through a joint call by the parties to Judge Burkhardt’s law clerks at (619) 557-6624.
18    Dated: January 2, 2024
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             See Electronic Case Filing Administrative Policies and Procedures Manual, United
      States District Court for the Southern District of California § 2(h), for the chambers’
28    official email address and procedures on emailing proposed orders.

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 1               Mandatory Directions for Zoom Video Conference Participation
 2          1.     The Court will use its official ZoomGov video conferencing account to hold
 3    the ENE.    IF YOU ARE UNFAMILIAR WITH ZOOM:                         Zoom is available on
 4    computers through a download on the Zoom website (https://zoom.us/meetings) or on
 5    mobile devices through the installation of a free app.1 Joining a Zoom conference does not
 6    require creating a Zoom account, but it does require downloading the .exe file (if using a
 7    computer) or the app (if using a mobile device). Participants are encouraged to create an
 8    account, install Zoom and familiarize themselves with Zoom in advance of the ENE.2
 9    There is a cost-free option for creating a Zoom account.
10          2.     Prior to the start of the ENE, the Court will e-mail each ENE participant an
11    invitation to join a Zoom video conference. Again, if possible, participants are encouraged
12    to use laptops or desktop computers for the video conference, as mobile devices often offer
13    inferior performance. Because Zoom may quickly deplete the battery of a participant’s
14    device, each participant should ensure that her or his device is plugged in or that a charging
15    cable is readily available during the video conference. Participants shall join the video
16    conference by following the ZoomGov Meeting hyperlink in the invitation. Participants
17    who do not have Zoom already installed on their device when they click on the
18    ZoomGov Meeting hyperlink will be prompted to download and install Zoom before
19    proceeding. Zoom may then prompt participants to enter the password included in the
20    invitation. All participants will be placed in a waiting room until the ENE begins.
21          3.     Each participant should plan to join the Zoom video conference at least
22    5 minutes before the start of the ENE to ensure that the ENE begins on time.
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             If possible, participants are encouraged to use laptops or desktop computers for the
27    video conference, as mobile devices often offer inferior performance.
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             For help getting started with Zoom, visit: https://support.zoom.us/hc/en-
28    us/categories/200101697-Getting-Started

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 1          4.     Zoom’s functionalities will allow the Court to conduct the ENE as it ordinarily
 2    would conduct an in-person ENE. That is, the Court will begin the ENE with all
 3    participants joined together in a main session. After an initial discussion in the main
 4    session, the Court will divide participants into separate, confidential sessions, which Zoom
 5    calls Breakout Rooms. 3 In a Breakout Room, the Court will be able to communicate with
 6    participants from a single party in confidence. Breakout Rooms will also allow parties and
 7    counsel to communicate confidentially without the Court.
 8          5.     All participants shall display the same level of professionalism during the
 9    ENE and be prepared to devote their full attention to the ENE as if they were attending in
10    person.
11          6.     If the case does not settle during the ENE, the Court will hold the CMC
12    immediately following the ENE with counsel only.
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          For more information on what to expect when participating in a Zoom Breakout
28    Room, visit: https://support.zoom.us/hc/en-us/articles/115005769646

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                                  UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA



  THANE CHARMAN,                                                   Case No.: 23-cv-02046-WQH-JLB
                                                 Plaintiff,
                                                                   NOTICE, CONSENT, AND
  v.                                                               REFERENCE OF A CIVIL ACTION TO
                                                                   A MAGISTRATE JUDGE
  HAMMEET SETHI, et al.,
                                             Defendants.




 Notice of a magistrate judge’s availability. A United States magistrate judge of this court is
 available to conduct all proceedings in this civil action (including a jury or nonjury trial) and to
 order the entry of a final judgment. The judgment may then be appealed directly to the United
 States court of appeals like any other judgment of this court. A magistrate judge may exercise this
 authority only if all parties voluntarily consent.

 You may consent to have your case referred to a magistrate judge, or you may withhold your
 consent without adverse substantive consequences. The name of any party withholding consent will
 not be revealed to any judge who may otherwise be involved with your case.

 Consent to a magistrate judge’s authority. The following parties ☐ Consent / ☐ Do Not Consent*

 to have a United States magistrate judge conduct all proceedings in this case including trial, the
 entry of final judgment, and all post-trial proceedings.
                Printed Names                     Signatures of all parties and counsel for all parties       Dates




                                                 REFERENCE ORDER
 IT IS ORDERED: This case is referred to United States Magistrate Judge ___________________
 to conduct all proceedings and order entry of a final judgment in accordance with 28 U.S.C. §
 636(c), Fed. R. Civ. P. 73, and CivLR 73.1.


  Date                                                   United States District Judge


 * Pursuant to Civil Local Rule 73.1, if (and only if) all parties have consented to the reference to a magistrate judge,
 then Plaintiff shall file the consent form(s) in paper format at the Clerk’s Office.
